         Case 1:14-cv-00737-CL        Document 139   Filed 06/14/18    Page 1 of 9




Lauren M. Rule (OSB #015174)
Elizabeth H. Potter (OSB #105482)
ADVOCATES FOR THE WEST
3115 NE Sandy Blvd., Ste. 223
Portland, OR 97232
(503) 914-6388
lrule@advocateswest.org
epotter@advocateswest.org

Attorneys for Plaintiffs




                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                     MEDFORD DIVISION




CONCERNED FRIENDS OF THE WINEMA,                       Case No. 1:14-cv-737-CL
KLAMATH-SISKIYOU WILDLANDS CENTER,
WESTERN WATERSHEDS PROJECT,                            THIRD DECLARATION OF
OREGON WILD, and CENTER FOR                            THERESA L. SIMPSON
BIOLOGICAL DIVERSITY,
                                                       In Support of Plaintiffs’ Opposition to
                       Plaintiffs,                     Defendants’ Motion to Dissolve
                                                       Injunction
       v.

U.S. FOREST SERVICE, and U.S. FISH AND
WILDLIFE SERVICE,

                       Defendants,
          Case 1:14-cv-00737-CL        Document 139       Filed 06/14/18      Page 2 of 9




I, Theresa L. Simpson, declare:

         1.    My name is Theresa L. Simpson, and I reside in Crescent, Oregon. I personally

know the following facts, and if called as a witness I would and could truthfully testify thereto.

         2.    On June 4, 2018, I spent about 5 hours visiting the Antelope Allotment to look at

conditions on the North Sheep, Jack Creek 4, Jack Creek 1 and Chemult Pastures. I observed

water levels in fens, and Oregon spotted frog habitat, and fence and water development

conditions. On June 5, 2018, I returned to the Antelope Allotment and spent 6 hours on the Jack

Creek 1, Jack Creek 2 and Chemult Pastures looking at exclosures, water levels and

infrastructure conditions.

         3.    Prior to these recent visits, I became familiar with the fences, water

developments, fens, and pastures on the Antelope Allotment over a period of 27 years. During

and after my work as a Biologist for the Fremont-Winema National Forest, I have worked on

projects within, and visited, the Antelope Allotment and surrounding area. While employed with

the Forest Service, I worked on multiple interdisciplinary teams analyzing and implementing

projects for timber sales, riparian improvement, and Oregon spotted frog habitat improvement. I

also helped design, build and maintain nine fences for resource protection at Jack Creek, Round

Meadow, Squirrel Camp, Cannon Well, Dry Meadow, Sproats Meadow, Wilshire Meadow,

Johnson Meadow and Rider’s Camp, and water developments at Squirrel Camp, Dry Meadow,

Sproats Meadow, Johnson Meadow and Wilshire Meadow. Since my retirement, I led two beaver

relocation efforts into Jack Creek. Every year, I also run camera lines photographing wildlife

throughout the area from June through October and spend several days hiking and snowmobiling

looking for wildlife in the area.

Fences




                                                                                                     2
           Case 1:14-cv-00737-CL      Document 139       Filed 06/14/18     Page 3 of 9




          4.   I found the following pasture boundary fences in various states of disrepair and

many with extensive damage, such as broken or sagging wires, sunken or leaning posts, trees on

the fence or other problems that could allow cattle to pass through easily: 1) between the North

Sheep Pasture and the Chemult Pasture by roads 88, 8829, and 8802; 2) between the Tobin and

Chemult Pastures by Road 8850 RD and the Rock Springs gate; 3) between the Chemult and

North Sheep pastures at Road 8821 down to the south end of Pasture 4 fence (the national forest

portion of lower Jamison Meadow); and between Jack Creek pastures and Chemult Pasture (aka

frog fence) by Road 9418. Along each of these fence sections, I found multiple problems in

multiple sections. Damage was extensive enough to allow cattle to pass through easily at all

boundary fences I visited. I did not observe that any maintenance or repairs had begun on these

fences.

          5.   The following photo shows the Boundary fence between the Chemult Pasture and

North Sheep Pasture down with a broken H brace and all four wires on the ground at the

cattleguard on Road 8829.




                                                                                                   3
        Case 1:14-cv-00737-CL        Document 139        Filed 06/14/18     Page 4 of 9




       6.     The following photo shows the fence between Jack Creek pastures and Chemult

Pasture (aka frog fence) with broken, unclipped and sagging wires on the fence at cattleguard on

Road 9814:




       7.     I found that the following existing exclosure fences were in various states of

disrepair, or were let down, without evidence of recent maintenance: 1) Round Meadow; 2)

Cannon Well; 3) Wilshire Meadow; 4) Squirrel Camp; 5) Johnson Meadow; and 6) Dry

Meadow. I also observed that a new Crooked Meadow fen exclosure fence has not been built.

       8.     The following photo shows broken, sagging wires on the Dry Meadow exclosure

fence in the Chemult Pasture:




                                                                                               4
         Case 1:14-cv-00737-CL         Document 139       Filed 06/14/18     Page 5 of 9




       9.      I have reviewed the Forest Service’s authorization documents (ROD Attachment

1 page 7, Table 5 in Appendix A; Maps 16 and 17 of the FEIS; BiOp page 4; and BA page 19)

that claim there is an existing fence to maintain on the west side of Jack Creek and a new cross

fence would be constructed between Jack Creek Pastures 1 and 2. I did not observe either of

these fences in either of these locations during my visits. I did not see any sign of new fence

construction along the west side of the North Sheep Pasture either.

Water developments

       10.     I found water developments were in various states of disrepair, such as holes in

troughs, broken pipes, spring box problems, and were not ready for use without serious

maintenance or reconstruction in the following areas: 1) Cabin Springs; 2) Dry Meadow; 3)

Wilshire Meadow; 4) Sproats Meadow; 5) Johnson Meadow; and 6) Huckleberry Spring. One

water development needed lighter maintenance, such as unclogging sediment in pipes or spring

boxes, in the Squirrel Camp area, which had a spring box filled with sediment.




                                                                                                   5
         Case 1:14-cv-00737-CL         Document 139       Filed 06/14/18     Page 6 of 9




       11.      The following photo in the Chemult Pasture shows a broken valve/stream of water

draining the fen at the unmaintained Sproats Meadow trough:




       12.      In the recent past, I have observed blue water troughs scattered throughout the

Chemult Pasture filled by water trucks to provide supplemental water sources and disperse cattle.

However, I found none of these troughs during my recent visits.

       13.      In my opinion, it will take significantly more time and effort to complete fence

and water development maintenance than a typical year due to two winters without maintenance.

In particular, the heavy snowpack in the winter of 2016-2017 brought down many more trees

onto the fences, and damaged posts and wires more than light or normal winters across the entire

project area.

Water conditions

       14.      According to the USDA Oregon Drought Monitor website

(https://www.drought.gov), as of May 29, 2018, the Antelope Allotment Project area has

progressed deeper into drought from abnormally dry to moderate drought intensity. The Late


                                                                                                   6
        Case 1:14-cv-00737-CL         Document 139       Filed 06/14/18     Page 7 of 9




summer projection calls for intensifying drought. In March 2018, Governor Kate Brown

declared a drought emergency in Klamath County,

https://www.oregon.gov/newsroom/Pages/NewsDetail.aspx?newsid=2630, which includes the

Chemult and North Sheep Pastures.

       15.     I found low water conditions for this time of year everywhere. There was no flow

out of the Huckleberry fen into Little Round Meadow, which is atypical for this time of year.

The Rock Springs pond was about 2 feet lower than it is typical for this time of year with no

outflow into the meadow. Sellers Creek is typically flowing over its banks this time of year, but

was only a trickle coming through the culvert at the Road 9405 crossing. Sellers Creek did not

flow to Sellers Marsh during the spring runoff, which is unusual. In Cannon Meadow, the pond

was less than half full even though it would typically be overflowing this time of year. Johnson

Meadow pools in front of the old guard station were dry, even though there would still be water

there in a typical year. In Squirrel Camp, Crooked and Dry Meadows, the water chances (a

dugout for cattle to drink water from), were not overflowing into the meadows as they typically

would this time of year.

       16.     The following photo shows the water chance in the fen is nearly empty at Squirrel

Camp in the Chemult Pasture:




                                                                                                   7
         Case 1:14-cv-00737-CL         Document 139       Filed 06/14/18     Page 8 of 9




       17.     I found abnormally low water levels for this time of year within Oregon spotted

frog habitat in the Davis Flat/Yellowjacket reaches on the North Sheep Pasture, just below

Pasture 4 and the top end of Pasture 1. Flow has stopped in Jack Creek below the Davis Flat

bridge earlier than normal this year isolating Oregon spotted frogs in remnant pools in the

Yellowjacket reach. Water levels in these isolated pools have already dropped over a foot this

spring. I found no off channel standing water in potential breeding habitat along Jack Creek

below the Pasture 4 fence (the national forest portion of lower Jamison Meadow). Typically this

time of year there would be standing water in the meadow up to a foot deep in much of this area.



I declare under penalty of perjury under the laws of the United States that the foregoing is true

and correct to the best of my knowledge.

Executed this ___11th_ day of June, 2018 at Crescent, Oregon.




                                                                                                    8
Case 1:14-cv-00737-CL   Document 139    Filed 06/14/18   Page 9 of 9




                         /s/Theresa L. Simpson

                         Theresa L. Simpson




                                                                       9
